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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :      CRIMINAL NO. 21-cr-670
               v.                            :
                                             :
STEPHEN K. BANNON,                           :
                                             :
                      Defendant.             :

                         PROPOSED STATEMENT OF THE CASE

       The parties agree on the following statement of the case, with the exception of the

concluding sentence(s). The parties’ proposals for the concluding sentence(s) are identified below

the agreed statement with objections.

                                 Agreed Statement of the Case

       The indictment in this case charges the Defendant, Stephen K. Bannon, with two counts of

contempt of Congress. In 2021, the Select Committee to Investigate the January 6th Attack on the

U.S. Capitol, a committee of the U.S. House of Representatives, was conducting an investigation

into the January 6, 2021, attack on the U.S. Capitol. According to the indictment, on September

23, 2021, the Select Committee issued a subpoena to the Defendant directing him to provide

various records relating to its investigation by October 7, 2021, and to appear and give testimony

at a deposition on October 14, 2021.

                      Government’s Proposal for Concluding Sentence

       The indictment alleges that the Defendant did not appear as required to provide testimony

on October 14, 2021, and did not produce records as required by October 18, 2021, and that his

failure to comply was deliberate and intentional.

Defense’s Objection: The defense objects to the removal of the statutory language of 2 U.S.C. §
192, and further requests a sentence explaining the Government’s burden of proof in this case.
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                       Defendant’s Proposal for Concluding Sentences

       The October 7, 2021 deadline for producing documents was later moved to October 18,

2021. The indictment alleges that Mr. Bannon willfully defaulted by not providing testimony on

October 14, 2021, and by not producing documents by October 18, 2021. The statements in the

indictment are only allegations. At trial, the Government has the burden of proving these

allegations beyond a reasonable doubt.

Government’s Objection: The Government does not believe the first statement is an accurate
factual recitation. In addition, “willfully defaulted” will not meaningfully explain the offense to
the jury. Instead, describing the nature of the default in layman’s terms, such as the “deliberate
and intentional” proposed by the Government and cited throughout the caselaw as the definition
of “willful,” will better inform the jury of what it is they will be asked to judge. The Government
also believes that the proposed voir dire sufficiently gauges the jurors’ ability to follow the law
with respect to the Government’s burden and does not need to be included in a description of the
allegations.




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